Case: 4:16-cr-00258-HEA Doc. #: 37-2 Filed: 01/27/17 Page: 1 of 5 PagelD #: 235

Freenet Target Files Summary

IP Address:

172.12.235.62

Geo Location:

Saint Louis

Return to Detail Page

File of Interest #1

File Name:

SHA1 Hash:

Probable Manifest Key:

Data Blocks

‘|[783

April - Anonther Set 2 (set 2).zip
BODS262HHKS3VS4FLQSOAAVAWTOESFAW

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Overall Totals:

Filtered: 71 Rows

LE #693

First Block Observed:

2015/04/02 23:08:56

Last Block Observed: _

2015/04/02 23:10:54

2015/04/02 23:08:56
2015/04/02 23:10:54

2015/04/02 23:08:56
2015/04/02 23:09:45

Overall Runtime: 0:01:58 _i 0:01:58 0:00:49
Average Peers 56.9 i 56.9 56.9
Total Unique Requests Logged] Ss —89_ 69 OOO J
% of Total: 8.81% 8.81% 8.81% |
% of Even Share: _ 5% ee 501% Nae SON ae Dee ee fees as
2 Records per second: 10 10 10
S ,| 3 Records per second: 2 2 2 -
28| 4 Records per second: 1 1 1
2 | 5 Records per second: 1 1 1
6 or more records/sec: 4 4 4

11/3/2016 14:25

Freenet Target Files Summary

IP Address:

172.12.235.62

Geo Location:

Saint Louis

Return to Detail Page

File of Interest #2

File Name:

melinda-fuck.avi

SHA1 Hash:

Probable Manifest Key:
Data Blocks

464

DP4CM2J70XNWVZYPLGPAQCTVRMCAVGF7

VERNMENT
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Case: 4:16-cr-00258-HEA Doc. #: 37-2

Filed: 01/27/17 Page: 2 of 5 PagelD #: 236

i Overall Totals: | Filtered: 68 Rows | LE #14 |
First Block Observed: 2015/06/04 04:45:36 2015/06/04 04:45:36! 2015/06/04 04:45:36
Last Block Observed: 2015/06/04 04:46:44 2015/06/04 04:46:441 2015/06/04 04:46:43
Overall Runtime: 0:01:08 7 0:01:08 0:01:07
Average Peers _ | a1, 51.1 51.1
Total Unique Requests Logged] _—§ = 87 67 tC
% of Total: 14.44% 14.44% i 14.44% t 1
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2 Records per second: 4 4 4 -
& .| 3 Records per second: 8 _ 8 8
= S| 4 Records per second: 5 5 | 5
2 © | 5 Records per second: 1 1 1
6 or more records/sec:

11/3/2016 14:25

Freenet Target Files Summary

IP Address:

172.12.235.62

Geo Location:

Saint Louis

Return to Detail Page

File of Interest #3

File Name: k@ty 2.mpg
SHA1 Hash: 5JJD6EXOPC3W6EVFPEOCIAZ7W/7TK4ILMR2Z
Probable Manifest Key:
Data Blocks 623
= . Overall Totals: Filtered: 31 Rows LE #817
First Block Observed: 2015/06/13 08:18:15 2015/06/13 08:18:15! 2015/06/13 08:18:15
Last Block Observed: 2015/06/13 08:19:09 | 2015/06/13 08:19:09; 2015/06/13 08:19:09
Overall Runtime: 0:00:54 0:00:54 0:00:54
Average Peers 62.7 62.7 62.7
Total Unique Requests Logged} = 37 31 St
% of Total: 4.98% 4.98% 4.98%
% of Even Share: 312% a 312% |EReeNS Teun eee eG eases ae el
| 2 Records per second: 6 6 6

Case: 4:16-cr-00258-HEA Doc. #: 37-2 Filed: 01/27/17 Page: 3 of 5 PagelD #: 237

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Case: 4:16-cr-00258-HEA Doc. #: 37-2 Filed: 01/27/17 Page: 4 of 5 PagelD #: 238

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Save FOI-1 Summary to PDF

Case: 4:16-cr-00258-HEA Doc. #. 37-2 Filed: 01/27/17 Page: 5 of 5 PagelD #: 239 :

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